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                                   STATEMENT OF FACTS

        Your affiant, Garrett H. Croon, is a Special Agent assigned to the Detroit Federal Bureau
of Investigation (“FBI”) Field Office, Traverse City Resident Agency. I have been an FBI Special
Agent since 2003. I have been assigned to the FBI Detroit Division, Traverse City Resident
Agency, since 2018. Prior to this, I had been assigned to the FBI Chicago Division. I have
received specialized training regarding investigative techniques, evidence collection, and evidence
preservation. I have participated in criminal and counter-terror investigations. Through my
training and experience, I am familiar with the strategy, tactics, methods, ideology and practices
of domestic terrorism and anti-government extremists. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent with
the FBI, I am authorized by law or by a government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        Earlier this day, at approximately 1:00 p.m., a crowd of violent rioters assembled on the
West Front of the United States Capitol. USCP formed a line of bike racks extending from the
north end of the West Front to the south end to act as a barrier against the crowd. Officers were
standing watch behind this line and fending off repeated attempts by the rioters to pull on the bike
racks, either with their hands or with ropes and straps.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. The crowd was not lawfully authorized to enter or remain in the building and, prior to
entering the building, no members of the crowd submitted to security screenings or weapons
checks by USCP officers or other authorized security officials. At such time, the certification
proceedings were still underway, and the exterior doors and windows of the United States Capitol
were locked or otherwise secured. Members of law enforcement attempted to maintain order and
keep the crowd from entering the United States Capitol.

        At approximately 2:30 p.m., significant sections of the police line on and near the United
States Capitol’s Lower West Terrace broke as the rioters in the crowd swarmed and overwhelmed
the law enforcement officers. Some of the rioters were able to penetrate the scaffolding, a position
that gave them access to the stairs to the upper terraces where there are several key doors, including
the doorway to the Lower West Terrace, also referred to as the “tunnel.” Officers from the USCP
and the Washington, DC Metropolitan Police Department (MPD) formed a police line in the tunnel
blocking that entrance to the United States Capitol building and were repeatedly fending off
assaults by some of the rioters. At approximately 2:42pm, rioters began entering the tunnel and
ambushing the officers. The rioters broke the glass and forced the doors open. In response, the
USCP and MPD officers formed a police line blocking that entrance to the U.S. Capitol building.
From approximately 2:42 p.m. and on, numerous rioters were consistently attempting to breach
the police line that formed in the tunnel. The rioters used various weapons, as well as the force of
their bodies, in an attempt to overcome the officers. Many of the rioters assaulted MPD and USCP
officers by hurling objects towards the officers, physically striking officers with batons and other
blunt instruments, using lights to distract and disorient the officers, using electrical shock devices,
crushing officers between the doors and walls of the confined space, and by deploying chemical
sprays and fire extinguishers against the officers.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.




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                              FACTS SPECIFIC TO LUKE LINTS

        Based on a review of publically available video footage and USCP surveillance footage on
January 6, 2021, a white male wearing a black and grey flannel shirt and a knit cap with the letters
“PV” on it, has been identified as LUKE MICHAEL LINTS (LINTS). LINTS, as shown below,
can be seen repeatedly engaging in an assault against law enforcement officers guarding the United
States Capitol.

        A review of USCP surveillance footage, MPD BWC footage, and videos posted on
YouTube revealed LINTS repeatedly engage in a violent assault against multiple law enforcement
officers in the tunnel. The “tunnel” is a narrow point of entry on the Lower West Terrace of the
Capitol, circled below:




                                              Figure 1

        On January 6, 2021, USCP surveillance footage captured LINTS entering the tunnel on the
Lower West Terrace at approximately 3:10 p.m., and making his way toward the front of the police
line, as seen in the Figures 2 and 3 below. Video footage posted to YouTube appears to directly
correspond to the USCP surveillance footage, and shows LINTS’s activities while at the front of
the line of rioters inside the tunnel. During a video taken inside the tunnel from video mark 21:33–
22:18, screenshotted in Figures 4 and 5, LINTS can be seen holding a police shield and pushing
back against police officers. At one point, LINTS uses the riot shield to prevent a law enforcement
officer from closing a door to protect himself from the rioters.




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                       Figure 2                                            Figure 3




                           Figure 4                                          Figure 5
  (Source: Youtube Link – Status Coup News (Independent photojournalist Jon Farina); Trump Supporters Battle
     Cops Inside the Capitol; https://www.youtube.com/watch?v=cJOgGsC0G9U&t=1309s; timecode 22:06)




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       In a video posted to YouTube that appears to be taken after the assault, LINTS can be
observed exiting the Lower West Terrace tunnel carrying a water bottle:




                                                  Figure 6
                      (Source: YouTube - KristiLEvans1 (KristiLEvans1) January 7, 2021
                 https://www.youtube.com/watch?v=VUrYmdHfw7A&t=201 Timecode: 3:21)

       Additional open source material captured LINTS in both video and photographs taken
before and during the riot. In figures 7 and 8, LINTS can be seen directly outside the tunnel as a
Metropolitan Police Department (MPD) Officer is being assaulted by rioters.




                                               Figure 7




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                                                      Figure 8
           (Source: HBO - Four Hours at the Capitol presented in association with the BBC, Timecode: 1:13:24)

        Following the January 6, 2021 attack on the United States Capitol, images of LINTS
participating in the riot appeared on the internet. Based on these images, the FBI created a profile
for LINTS and LINTS was given the moniker “261-AFO (261–Assault on a Federal Officer).”
The FBI posted images of 261-AFO to its website, www.FBI.gov, and to social media, to garner
public assistance in identifying 261-AFO.




                                                      Figure 9
                          (Source: www.fbi.gov/wanted/capitol-violence-images/261e.jpg/view)

        In late November 2021, FBI Washington Field Office received Confidential Human Source
(CHS) information that BOLO 261-AFO, identified by the FBI using hashtag
“#BlackGreyFlannel”, was Luke LINTS from Traverse City, Michigan. This CHS was an
established source who led a team of open-source researchers who collaborated shortly after
January 6, 2021, to identify United States Capitol rioters. This CHS group was motivated by a
desire to assist law enforcement regarding the events of January 6, 2021, at the United States
Capitol. The CHS did not have personal knowledge of the subjects of reporting, but rather derived
the information solely through open-source research. The CHS provided images and video links
via Youtube, Reuters, and Propublica, that appear to depict LINTS engaging in a direct physical
struggle with law enforcement officers. The CHS provided links to accounts at Linkedin.com,
Facebook.com, Youtube.com, and Parler.com, believed to be associated with LINTS.




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        The FBI located a known image of LINTS from the Michigan Department of Motor
Vehicles which showed LINTS most current driver’s license photograph dated May 2021. The
FBI compared the driver’s license photograph to the images of BOLO 261-AFO and believed them
to be the same individual.

        Based on the similarity between LINTS and 261-AFO, the FBI reviewed the social media
account provided by the CHS and believed to be associated with LINTS at www.Parler.com. A
review of the account revealed a profile photograph posted in January 2021. The photograph of
LINTS showed him standing with a female, later identified as his biological mother, in front of the
Lincoln Memorial in Washington D.C. In the profile photograph, LINTS was wearing a black and
grey flannel shirt and a hat with the letters “PV” on it; consistent with the same clothing worn by
261-AFO on January 6, 2021:




                                                  Figure 10
           (Source: https://web.archive.org/web/20210110212747/https://parler.com/profile/xxlukexx)

        The FBI interviewed LINTS’ mother and showed her photos of LINTS at the Capitol,
including the images depicted in Figure 9. LINTS’ mother identified LINTS in the photographs.
LINTS’ mother stated that on January 6, 2021, she had a medical episode while walking along
Pennsylvania Avenue to the U.S. Capitol, and had to take an ambulance to the hospital. LINTS’
mother stated that she was unsure what LINTS did while she was hospitalized, but on the way
back to Michigan, LINTS’ mother stated that LINTS appeared scared because of what he had done
at the Capitol, and would not talk about it with her.

      Three other persons who are personally familiar with LINTS were also shown pictures of
261-AFO, and all three persons identified 261-AFO as LINTS.

        Your affiant submits there is also probable cause to believe that LINTS violated 18 U.S.C.
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,




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agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your affiant submits that there is also probable cause to believe that LINTS violated 18
U.S.C. § 1752(a)(1) and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (4) knowingly engages in any
act of physical violence against any person or property in any restricted building or grounds or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that LUKE MICHEAL LINTS
violated 40 U.S.C. § 5104(e)(2) which makes it a crime to willfully and knowingly (E) obstruct,
or impede passage through or within, the Grounds or any of the Capitol Buildings; and (F) engage
in an act of physical violence in the Grounds or any of the Capitol Buildings.


                                                     Respectfully submitted,


                                                     _________________________________
                                                     Garrett H. Croon
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of June 2022.
                                                                       Zia M. Faruqui
                                                                       2022.06.24 16:53:21
                                                     ___________________________________
                                                                       -04'00'
                                                     HONORABLE ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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